Case:17-03283-LTS Doc#:6281-1 Filed:04/15/19 Entered:04/15/19 21:35:27   Desc:
                        Exhibit Exhibit A Page 1 of 7



                                 EXHIBIT A
                                   Case:17-03283-LTS Doc#:6281-1 Filed:04/15/19 Entered:04/15/19 21:35:27                                        Desc:
                                                           Exhibit Exhibit A Page 2 of 7

                                                                         Thirty-Second Omnibus Objection
                                                                           Exhibit A - Amended Claims
                                   CLAIMS TO BE DISALLOWED                                                                            REMAINING CLAIMS

                              DATE          CASE NUMBER /                                                                  DATE          CASE NUMBER /
          NAME                FILED            DEBTOR                  CLAIM #    CLAIM AMOUNT             NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
1 ARROYO CARABALLO,           05/29/18   Employees Retirement           28918           $ 65,063.34 ARROYO CARABALLO,      06/26/18   Employees Retirement           50011          $ 65,063.34
  MARIA E.                               System of the Government of                                MARIA E.                          System of the Government of
  URB. PALACIOS REALES                   the Commonwealth of Puerto                                 URB. PALACIOS REALES              the Commonwealth of Puerto
  44 CALLE RAVENA                        Rico                                                       #44 CALLE RAVENA                  Rico
  TOA ALTA, PR 00953                     17 BK 03566-LTS                                            TOA ALTA, PR 00953                17 BK 03566-LTS

  Reason: Amended and superseded by a later filed Proof of Claim.
2 BETANCOURT                  04/06/18   Employees Retirement           6651           $ 33,898.32* BETANCOURT             05/24/18   Employees Retirement           29994         $ 33,898.32*
  COLLAZO, ANA IVONNE                    System of the Government of                                COLLAZO, ANA IVONNE               System of the Government of
  URB. CIUDAD JARDIN                     the Commonwealth of Puerto                                 PO BOX 376                        the Commonwealth of Puerto
  CALLE TRINITARIA #                     Rico                                                       SAINT JUST STATION                Rico
  266                                    17 BK 03566-LTS                                            TRUJILLO ALTO, PR                 17 BK 03566-LTS
  CAROLINA, PR 00987                                                                                00978-376

  Reason: Amended and superseded by a later filed Proof of Claim.
3 BORRERO ALDARONDO,          03/12/18   Employees Retirement           1528          Undetermined* ALDAHONDO,             06/26/18   Employees Retirement           51056          $ 28,790.80
  MARCIANO E                             System of the Government of                                MARCIANO BORRERO                  System of the Government of
  URB ALTAMIRA                           the Commonwealth of Puerto                                 URB ALMIRA CALLE 4                the Commonwealth of Puerto
  LEVITTOWN                              Rico                                                       AF3                               Rico
  AF 3 CALLE 4                           17 BK 03566-LTS                                            TOA BAJA, PR 00949                17 BK 03566-LTS
  TOA BAJA, PR 00950

  Reason: Amended and superseded by a later filed Proof of Claim.
4 BURGOS RODRIGUEZ,           05/25/18   Employees Retirement           21178          $ 527,718.83* BURGOS RODRIGUEZ,     06/20/18   Employees Retirement           37841         $ 52,718.83*
  LYMARIS                                System of the Government of                                 LYMARIS                          System of the Government of
  COND RIO VISTA                         the Commonwealth of Puerto                                  COND RIO VISTA                   the Commonwealth of Puerto
  APT I204                               Rico                                                        APT I-204                        Rico
  CAROLINA, PR 00987                     17 BK 03566-LTS                                             CAROLINA, PR 00987               17 BK 03566-LTS

  Reason: Amended and superseded by a later filed Proof of Claim.
5 CARRASQUILLO SEDA,          05/08/18   Employees Retirement           12776          $ 48,188.56* CARRASQUILLO SEDA,     06/06/18   Employees Retirement           59524          $ 48,188.56
  SABY L                                 System of the Government of                                SABY L                            System of the Government of
  URB PUERTO NUEVO                       the Commonwealth of Puerto                                 URB PUERTO NUEVO                  the Commonwealth of Puerto
  1121 CALLE 2 SE                        Rico                                                       1121 CALLE 2 SE                   Rico
  SAN JUAN, PR 00921                     17 BK 03566-LTS                                            SAN JUAN, PR 00921                17 BK 03566-LTS

  Reason: Amended and superseded by a later filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                 Page 1 of 6
                                    Case:17-03283-LTS Doc#:6281-1 Filed:04/15/19 Entered:04/15/19 21:35:27                                          Desc:
                                                            Exhibit Exhibit A Page 3 of 7

                                                                          Thirty-Second Omnibus Objection
                                                                            Exhibit A - Amended Claims
                                    CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                    DATE          CASE NUMBER /
           NAME                FILED            DEBTOR                  CLAIM #    CLAIM AMOUNT             NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
6 CEBALLOS FUENTES,            05/02/18   Employees Retirement           10260         Undetermined* CEBALLOS FUENTES,        11/30/18   Employees Retirement           167996          $ 13,960.55
  RUTH E.                                 System of the Government of                                RUTH E.                             System of the Government of
  C-10 CALLE 3 URB. EXT.                  the Commonwealth of Puerto                                 C-10 CALLE 3 URB. EXT.              the Commonwealth of Puerto
  VILLAS DEL PILAR                        Rico                                                       VILLAS DEL PILAR                    Rico
  CEIBA, PR 00735                         17 BK 03566-LTS                                            CEIBA, PR 00735                     17 BK 03566-LTS

   Reason: Amended and superseded by a later filed Proof of Claim.
7 CRUZ SANCHEZ, LYDIA          04/18/18   Employees Retirement           7991           $ 46,611.49* CRUZ SANCHEZ, LYDIA      05/25/18   Commonwealth of Puerto         30381          $ 46,611.49*
  COOP. TITULARES JARD                    System of the Government of                                COOP. HITIARES JARD.                Rico
  DE VALENCIA                             the Commonwealth of Puerto                                 DE VALENCIA                         17 BK 03283-LTS
  631 PEREIRA LEAL APT.                   Rico                                                       631 PEREIRA LEAL APT.
  801                                     17 BK 03566-LTS                                            801
  SAN JUAN, PR 00923                                                                                 SAN JUAN, PR 00923

   Reason: Amended and superseded by a later filed Proof of Claim.
8 DIAZ RODRIGUEZ,              05/23/18   Employees Retirement           15074          $ 26,000.00* DIAZ RODRIGUEZ,          06/28/18   Employees Retirement           69069          $ 26,000.00*
  CINDIA                                  System of the Government of                                CINDIA                              System of the Government of
  HC 80 BOX 7721                          the Commonwealth of Puerto                                 HC 80 BOX 7721                      the Commonwealth of Puerto
  DORADO, PR 00646-9551                   Rico                                                       DORADO, PR 00646-9551               Rico
                                          17 BK 03566-LTS                                                                                17 BK 03566-LTS
   Reason: Amended and superseded by a later filed Proof of Claim.
9 FRANCISCO MARTINEZ           05/02/18   Employees Retirement           11671          $ 632,870.00* FRANCISCO MARTINEZ      09/10/18   Employees Retirement           167242        $ 633,170.00*
  IRIZARRY ELBA I                         System of the Government of                                 IRIZARRY AND/Y ELBA                System of the Government of
  AYALA RODRIGUEZ                         the Commonwealth of Puerto                                  I. AYALA RODRIGUEZ                 the Commonwealth of Puerto
  PO BOX 949                              Rico                                                        P.O. BOX 949                       Rico
  SAN GERMAN, PR 00683                    17 BK 03566-LTS                                             SAN GERMAN, PR 00683               17 BK 03566-LTS

   Reason: Amended and superseded by a later filed Proof of Claim.
10 GONZALEZ AYALA,             05/11/18   Employees Retirement           14445           $ 8,698.59* GONZALEZ AYALA,          06/27/18   Employees Retirement           60100           $ 8,698.59*
   GLORIMAR                               System of the Government of                                GLORIMAR                            System of the Government of
   VILLA COOPERATIVA                      the Commonwealth of Puerto                                 VILLA COOPERATIVA                   the Commonwealth of Puerto
   A22 CALLE 1                            Rico                                                       A 22 CALLE 1                        Rico
   CAROLINA, PR 00985-                    17 BK 03566-LTS                                            CAROLINA, PR 00985-                 17 BK 03566-LTS
   4203                                                                                              4203

   Reason: Amended and superseded by a later filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                   Page 2 of 6
                                    Case:17-03283-LTS Doc#:6281-1 Filed:04/15/19 Entered:04/15/19 21:35:27                                           Desc:
                                                            Exhibit Exhibit A Page 4 of 7

                                                                          Thirty-Second Omnibus Objection
                                                                            Exhibit A - Amended Claims
                                    CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                     DATE          CASE NUMBER /
           NAME                FILED            DEBTOR                  CLAIM #    CLAIM AMOUNT             NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
11 HIDALGO FIGUEROA,           03/29/18   Employees Retirement           5474            $ 24,379.02 HIDALGO FIGUEROA,         05/25/18   Employees Retirement           30094          $ 24,379.02*
   NIXA ENID                              System of the Government of                                NIXA E.                              System of the Government of
   URB. TERRAZAS DE                       the Commonwealth of Puerto                                 B-39 TERRAZAS DE                     the Commonwealth of Puerto
   CUPEY                                  Rico                                                       CUPAY 6                              Rico
   CALLE 6 # B-39                         17 BK 03566-LTS                                            TRUJILLO ALTO, PR                    17 BK 03566-LTS
   TRUJILLO ALTO, PR                                                                                 00976
   00976

   Reason: Amended and superseded by a later filed Proof of Claim.
12 IVONNE MEDINA               05/24/18   Employees Retirement           28695         Undetermined* MEDINA CORTES,            06/27/18   Employees Retirement           53798          $ 83,306.67*
   CORTES                                 System of the Government of                                IVONNE                               System of the Government of
   828 MIGUEL XIORRO                      the Commonwealth of Puerto                                 CIUDAD JARDIN                        the Commonwealth of Puerto
   SAN JUAN, PR 00924                     Rico                                                       JUNCOS                               Rico
                                          17 BK 03566-LTS                                            45 CALLE CANOABO                     17 BK 03566-LTS
                                                                                                     JUNCOS, PR 00777

   Reason: Amended and superseded by a later filed Proof of Claim.
13 JAUREGUI CASTRO,            04/16/18   Employees Retirement           7308           $ 120,566.65 JAUREGUI CASTRO,          06/05/18   Employees Retirement           56031         $ 120,566.65*
   NORA                                   System of the Government of                                NORA                                 System of the Government of
   URB PARK GARDENS                       the Commonwealth of Puerto                                 Y1-15 CALLE                          the Commonwealth of Puerto
   Y1-15 CALLE                            Rico                                                       VERSALLES                            Rico
   VERSALLES                              17 BK 03566-LTS                                            URB PARK GARDENS                     17 BK 03566-LTS
   SAN JUAN, PR 00926                                                                                SAN JUAN, PR 00926

   Reason: Amended and superseded by a later filed Proof of Claim.
14 JIMENEZ CARLO, RICKY        03/25/18   Employees Retirement           2488            $ 30,000.00 JIMENEZ CARLO, RICKY      05/09/18   Employees Retirement           10945           $ 30,000.00
   1047 CARITE STREET                     System of the Government of                                URB VALLES DEL LAGO                  System of the Government of
   URB VALLES DEL LAGO                    the Commonwealth of Puerto                                 1047 CARITE STREET                   the Commonwealth of Puerto
   CAGUAS, PR 00725                       Rico                                                       CAGUAS, PR 00725                     Rico
                                          17 BK 03566-LTS                                                                                 17 BK 03566-LTS
   Reason: Amended and superseded by a later filed Proof of Claim.
15 LARROY DE LEON,             06/04/18   Employees Retirement           31556          $ 79,923.28* LARROY DE LEON,           06/28/18   Employees Retirement           61235          $ 79,923.28*
   ZOHAMY                                 System of the Government of                                ZOHAMY                               System of the Government of
   PO BOX 40140                           the Commonwealth of Puerto                                 PO BOX 40140                         the Commonwealth of Puerto
   SAN JUAN, PR 00940-0140                Rico                                                       SAN JUAN, PR 00940-0140              Rico
                                          17 BK 03566-LTS                                                                                 17 BK 03566-LTS
   Reason: Amended and superseded by a later filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 3 of 6
                                    Case:17-03283-LTS Doc#:6281-1 Filed:04/15/19 Entered:04/15/19 21:35:27                                          Desc:
                                                            Exhibit Exhibit A Page 5 of 7

                                                                          Thirty-Second Omnibus Objection
                                                                            Exhibit A - Amended Claims
                                    CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                    DATE          CASE NUMBER /
           NAME                FILED            DEBTOR                  CLAIM #    CLAIM AMOUNT             NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
16 LOBETO SANFELIZ, INES       04/12/18   Employees Retirement           7126            $ 62,770.35 LOBETO SANFELIZ, INES    06/11/18   Employees Retirement           47464           $ 41,846.90
   PO BOX 2055                            System of the Government of                                PO BOX 2055                         System of the Government of
   ISABELA, PR 00662                      the Commonwealth of Puerto                                 ISABELA, PR 00662                   the Commonwealth of Puerto
                                          Rico                                                                                           Rico
                                          17 BK 03566-LTS                                                                                17 BK 03566-LTS
   Reason: Amended and superseded by a later filed Proof of Claim.
17 LOPEZ PEREZ, ANGEL L        05/02/18   Employees Retirement           10222         Undetermined* LOPEZ PEREZ, ANGEL L.    11/30/18   Employees Retirement           167995          $ 42,565.30
   URB EXT. VILLAS DEL                    System of the Government of                                C-10 CALLE 3 URB. EXT.              System of the Government of
   PILAR                                  the Commonwealth of Puerto                                 VILLAS DEL PILAR                    the Commonwealth of Puerto
   C-10 CALLE 3                           Rico                                                       CEIBA, PR 00735                     Rico
   CEIBA, PR 00735                        17 BK 03566-LTS                                                                                17 BK 03566-LTS

   Reason: Amended and superseded by a later filed Proof of Claim.
18 MARCANO GARCIA,             04/06/18   Employees Retirement           6669            $ 86,419.18 MARCANO GARCIA,          05/24/18   Employees Retirement           30628          $ 86,419.18*
   JULIO                                  System of the Government of                                JULIO                               System of the Government of
   CALLE LUZ ESTE Q2                      the Commonwealth of Puerto                                 CALLE LUZ ESTE Q12                  the Commonwealth of Puerto
   TOA BAJA, PR 00950                     Rico                                                       LEVITTOWN                           Rico
                                          17 BK 03566-LTS                                            TOA BAJA, PR 00949                  17 BK 03566-LTS

   Reason: Amended and superseded by a later filed Proof of Claim.
19 MARRERO NIEVES,             05/24/18   Employees Retirement           33447         Undetermined* MARRERO NIEVES,          08/06/18   Employees Retirement           114866          $ 28,000.00
   JORGE                                  System of the Government of                                JORGE                               System of the Government of
   HC 9 BOX 58846                         the Commonwealth of Puerto                                 HC9 BOX 58846                       the Commonwealth of Puerto
   CAGUAS, PR 00725                       Rico                                                       CAGUAS, PR 00725-9242               Rico
                                          17 BK 03566-LTS                                                                                17 BK 03566-LTS
   Reason: Amended and superseded by a later filed Proof of Claim.
20 MORALES                     04/16/18   Employees Retirement           7554           $ 72,466.13* MORALES                  06/05/18   Commonwealth of Puerto         85775         $ 129,889.56*
   MALDONADO, MANUEL                      System of the Government of                                MALDONADO, MANUEL                   Rico
   YI-15 CALLE                            the Commonwealth of Puerto                                 URB PARK GARDENS                    17 BK 03283-LTS
   VERSALLES                              Rico                                                       CALLE VERSALLES Y1-
   URB PARK GARDENS                       17 BK 03566-LTS                                            15
   SAN JUAN, PR 00926                                                                                SAN JUAN, PR 00926

   Reason: Amended and superseded by a later filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                   Page 4 of 6
                                    Case:17-03283-LTS Doc#:6281-1 Filed:04/15/19 Entered:04/15/19 21:35:27                                           Desc:
                                                            Exhibit Exhibit A Page 6 of 7

                                                                          Thirty-Second Omnibus Objection
                                                                            Exhibit A - Amended Claims
                                    CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                     DATE          CASE NUMBER /
           NAME                FILED            DEBTOR                  CLAIM #    CLAIM AMOUNT             NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
21 MOYA BENIQUEZ,              04/02/18   Employees Retirement           5812          Undetermined* MOYA BENIQUEZ,            06/29/18   Commonwealth of Puerto         86466        Undetermined*
   AWILDA                                 System of the Government of                                AWILDA                               Rico
   132 CALLE PEDRO                        the Commonwealth of Puerto                                 2E RUTA 474                          17 BK 03283-LTS
   PADILLA                                Rico                                                       ISABELA, PR 00662
   ISABELA, PR 00662                      17 BK 03566-LTS

   Reason: Amended and superseded by a later filed Proof of Claim.
22 RIEFKOHL MOLINA,            05/10/18   Employees Retirement           12888          $ 15,585.42* RIEFKOHL MOLINA,          05/25/18   Employees Retirement           38580          $ 15,585.42*
   GRETCHEN                               System of the Government of                                GRETCHEN                             System of the Government of
   154 COND TAFT APT 704                  the Commonwealth of Puerto                                 154 COND TAFT APT 704                the Commonwealth of Puerto
   SAN JUAN, PR 00911-2057                Rico                                                       SAN JUAN, PR 00911-2057              Rico
                                          17 BK 03566-LTS                                                                                 17 BK 03566-LTS
   Reason: Amended and superseded by a later filed Proof of Claim.
23 RIVERA RIVERA,              05/27/18   Employees Retirement           23382         Undetermined* RIVERA RIVERA,            06/26/18   Employees Retirement           52696        Undetermined*
   WILLIAM                                System of the Government of                                WILLIAM                              System of the Government of
   PO BOX 433                             the Commonwealth of Puerto                                 PO BOX 433                           the Commonwealth of Puerto
   GUAYNABO, PR 00970-                    Rico                                                       GUAYNABO, PR 00970-                  Rico
   0433                                   17 BK 03566-LTS                                            0433                                 17 BK 03566-LTS

   Reason: Amended and superseded by a later filed Proof of Claim.
24 ROCHE RABELL,               02/26/18   Employees Retirement            647            $ 63,992.39 ROCHE RABELL,             05/25/18   Employees Retirement           48800          $ 65,450.40*
   NORMA                                  System of the Government of                                NORMA                                System of the Government of
   URB. UNIVERSITY                        the Commonwealth of Puerto                                 URB. UNIVERSITY                      the Commonwealth of Puerto
   GARDENS                                Rico                                                       GARDENS                              Rico
   277B CALLE CLEMSON                     17 BK 03566-LTS                                            277B CALLE CLEMSON                   17 BK 03566-LTS
   SAN JUAN, PR 00927-4127                                                                           SAN JUAN, PR 00927-4127

   Reason: Amended and superseded by a later filed Proof of Claim.
25 SERRANO HEREDIA,            05/07/18   Employees Retirement           11401          $ 14,193.94* SERRANO HEREDIA,          05/29/18   Employees Retirement           32296          $ 14,193.94*
   MARY SOPHY                             System of the Government of                                MARY SOPHY                           System of the Government of
   22 ANACONDA VICTOR                     the Commonwealth of Puerto                                 22 ANACONDA VICTOR                   the Commonwealth of Puerto
   ROJAS 1                                Rico                                                       ROJAS 1                              Rico
   ARECIBO, PR 00612                      17 BK 03566-LTS                                            ARECIBO, PR 00612                    17 BK 03566-LTS

   Reason: Amended and superseded by a later filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 5 of 6
                                    Case:17-03283-LTS Doc#:6281-1 Filed:04/15/19 Entered:04/15/19 21:35:27                                         Desc:
                                                            Exhibit Exhibit A Page 7 of 7

                                                                          Thirty-Second Omnibus Objection
                                                                            Exhibit A - Amended Claims
                                    CLAIMS TO BE DISALLOWED                                                                             REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                   DATE          CASE NUMBER /
           NAME                FILED            DEBTOR                  CLAIM #    CLAIM AMOUNT            NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
26 TIRADO SANTOS,              03/05/18   Employees Retirement            721           $ 41,649.56* TIRADO SANTOS,          05/24/18   Employees Retirement           30867         $ 41,649.56*
   YAJAIRA                                System of the Government of                                YAJAIRA                            System of the Government of
   105 CALLE ACADIA APT.                  the Commonwealth of Puerto                                 105 C/ACADIA APTO 402              the Commonwealth of Puerto
   402                                    Rico                                                       SAN JUAN, PR 00926                 Rico
   SAN JUAN, PR 00926-2030                17 BK 03566-LTS                                                                               17 BK 03566-LTS

   Reason: Amended and superseded by a later filed Proof of Claim.
27 VELEZ CARRION,              04/13/18   Employees Retirement           7228           $ 82,973.64* VELEZ CARRION,          05/25/18   Employees Retirement           31245         $ 82,973.64*
   ZULMA I                                System of the Government of                                ZULMA I.                           System of the Government of
   WR-18 RAFAEL                           the Commonwealth of Puerto                                 C/RAFAEL CARRION                   the Commonwealth of Puerto
   CARRION                                Rico                                                       WR-18                              Rico
   VILLA FONTANA                          17 BK 03566-LTS                                            VILLA FONTANA                      17 BK 03566-LTS
   CAROLINA, PR 00987                                                                                CAROLINA, PR 00987

   Reason: Amended and superseded by a later filed Proof of Claim.
28 VILLAMIL HERRANS,           04/06/18   Employees Retirement           4596           $ 44,142.77* VILLAMIL HERRANS,       05/24/18   Employees Retirement           24142         $ 44,142.77*
   LOURDES M                              System of the Government of                                LOURDES M                          System of the Government of
   Q 2 LUZ ESTE STREET                    the Commonwealth of Puerto                                 Q2 LUZ ESTE STREET                 the Commonwealth of Puerto
   TOA BAJA, PR 00949                     Rico                                                       TOA BAJA, PR 00949                 Rico
                                          17 BK 03566-LTS                                                                               17 BK 03566-LTS
   Reason: Amended and superseded by a later filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                  Page 6 of 6
